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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


  EHO360, LLC,                                     §
                                                   §
       Plaintiff,                                  §
                                                   §
  v.                                               §    CIVIL ACTION NO. 3:21-CV-0724-B
                                                   §
  NICHOLAS OPALICH,                                §
                                                   §
       Defendant.                                  §
                                                   §


                                               ORDER

          Before the Court is Plaintiff EHO360, LLC (“EHO”)’s Post-Appeal Motion for Attorneys’

 Fees and Costs (Doc. 207). EHO prevailed on its breach of contract against Defendant Nicholas

 Opalich and now asks that the Court award it $940,627.10 in reasonable attorneys’ fees and

 $25,982.13 in taxable costs under Chapter 38 of the Texas Civil Practices and Remedies Code. Id.

 at 4–6, 19. For the following reasons, the Court GRANTS IN PART the Motion (Doc. 207).

 However, the Court cannot enter an award of attorneys’ fees at this time because EHO has not

 properly segregated the fees incurred in bringing its contract claim against Opalich from the fees

 incurred in bringing its other, nonrecoverable claims. The Court thus ORDERS EHO to

 supplement its Motion with evidence segregating its recoverable fees from nonrecoverable fees

 within twenty-one (21) days of the date of this Order. The Court DEFERS entering an award of

 attorneys’ fees and costs until it receives the parties’ supplemental materials.

          EHO initiated this suit on March 29, 2021, against Opalich and Tammy Radcliff, among

 others. Doc. 1, Compl., ¶¶ 3–4. EHO’s operative pleading in this case, its Second Amended



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 Complaint, asserted five causes of action against Opalich and Radcliff. Against Opalich, EHO

 brought claims for (1) breach of contract, (2) breach of fiduciary duty, and (3) fraudulent

 inducement. Doc. 42, Am. Compl., ¶¶ 64–79. Against Radcliff, EHO brought claims for (4) breach

 of contract and (5) breach of fiduciary duty. Id. ¶¶ 80–88.

        The Court conducted the trial of this case from March 27, 2023, to March 31, 2023. Doc.

 164, Order. On April 4, 2023, the Court severed EHO’s claims against Opalich from its claims

 against Radcliff, id., and entered its findings of fact and conclusions of law as to the claims against

 Opalich. Doc. 165, Findings & Conclusions. The Court found in favor of EHO on all three of its

 claims against Opalich. See Doc. 166, Judgment. Opalich appealed this Court’s Judgment, and the

 Fifth Circuit affirmed. See Doc. 209, Order.

        EHO now seeks its reasonable trial and appellate fees incurred in bringing its breach of

 contract claim against Opalich. See Doc. 207, Mot. EHO’s Motion is fully briefed and ripe for

 review. The Court considers it below.

 A.     EHO is Entitled to Attorneys’ Fees

        EHO is entitled to its trial and appellate fees incurred in bringing its breach of contract

 claim against Opalich because EHO prevailed on that claim. In Texas, a prevailing party in a civil

 action for breach of an oral or written contract is entitled to recover attorneys’ fees. See TEX. CIV.

 PRAC. & REM. CODE § 38.001(8). While § 38.001(8) “uses the term ‘may,’ the Texas Supreme

 Court has declared that attorneys’ fees under [§] 38.001 are not discretionary.” Kona Tech. Corp.

 v. S. Pac. Transp. Co., 225 F.3d 595, 603 n.2 (5th Cir. 2000) (citing Bocquet v. Herring, 972 S.W.2d

 19, 20 (Tex. 1998)). Here, EHO asserted a state-law claim for breach of a written contract against

 Opalich. Doc. 184, Am. Findings & Conclusions, 2. The Court found that Opalich breached his

 contract with EHO and thus awarded EHO actual damages on its contract claim. Id. at 13–14.
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 Therefore, EHO prevailed on its contract claim and is entitled to attorneys’ fees under § 38.001(8).

 See Guardian Life Ins. Co. v. Kinder, 663 F. Supp. 2d 544, 560 (S.D. Tex. 2009) (“In order to recover

 attorney’s fees pursuant to § 38.001, a party must be a prevailing party and recover actual damages

 on its claim.”). Moreover, “[i]f trial attorney’s fees are mandatory under section 38.001, then

 appellate attorney’s fees are also mandatory when proof of reasonable fees is presented.” Ventling v.

 Johnson, 466 S.W.3d 143, 154 (Tex. 2015). Here, EHO has presented some evidence of the

 reasonable attorneys’ fees it purportedly incurred in defending against Opalich’s appeal of the

 Court’s judgment on the contract claim, which the Fifth Circuit affirmed. See Doc. 208, App’x;

 Doc. 209, Order. Accordingly, EHO is likewise entitled to its reasonable appellate fees. For these

 reasons, the Court GRANTS EHO’s Motion (Doc. 207).

 B.     Segregation of Fees

        “When a lawsuit involves multiple claims or parties, the proponent of attorney’s fees must

 segregate recoverable fees from those incurred by parties or on claims for which fees are not

 recoverable.” Clearview Props., L.P. v. Prop. Texas SC One Corp., 287 S.W.3d 132, 143 (Tex. App.–

 Houston [14th Dist.] 2009, pet. denied). Thus, “if any attorney’s fees relate solely to a claim for

 which such fees are unrecoverable, a claimant must segregate recoverable from unrecoverable

 fees.” Tony Gullo Motors I, L.P. v. Chapa, 212 S.W.3d 299, 313 (Tex. 2006). However, “[a]

 recognized exception to this duty to segregate arises when the attorney’s fees rendered are in

 connection with claims arising out of the same transaction and are so interrelated that their

 prosecution or defense entails proof or denial of essentially the same facts.” Turner v. Ewing, 625

 S.W.3d 510, 525 (Tex. App.—Houston [14th Dist.] 2020, pet. denied) (quotations omitted)

 (citing Stewart Title Guar. Co. v. Sterling, 822 S.W.2d 1, 11–12 (Tex. 1991)). “Therefore, when the

 causes of action involved in the suit are dependent upon the same set of facts or circumstances and
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 thus are intertwined to the point of being inseparable, the party suing for attorney’s fees may

 recover the entire amount covering all claims.” Id. (quotations omitted) (citing Sterling, 822

 S.W.2d at 11–12).

         Here, EHO asserted five claims against two defendants: Opalich and Radcliff. Doc. 42,

 Am. Compl., ¶¶ 3–4, 64–88. Against Opalich, EHO brought claims for breach of contract, breach

 of fiduciary duty, and fraudulent inducement. Id. ¶¶ 64–79. Against Radcliff, EHO asserted claims

 for breach of contract and breach of fiduciary duty. Id. ¶¶ 80–88. The parties seemingly agree that

 EHO’s fees in prosecuting the two claims against Radcliff are not recoverable against Opalich under

 Chapter 38. And EHO does not contend that Texas law authorizes recovery of its fees incurred in

 bringing the fiduciary duty and fraudulent inducement claims against Opalich. Cf. Doc. 207, Mot.,

 13–16. However, EHO now seeks to recover essentially all of the attorneys’ fees incurred in

 prosecuting each of the five claims it asserted, even though Texas law only permits recovery of

 such fees for a single claim—the breach of contract claim against Opalich. See id. at 4, 19. EHO

 argues that it was not required to segregate any of the fees it incurred in prosecuting the four

 nonrecoverable claims because those claims were “so intertwined with and inseparable from”

 EHO’s contract claim against Opalich that segregation would have been “largely impossible.” Id.

 at 14. The Court is not persuaded.

        To begin, EHO was, at the very least, required to segregate the fees it incurred in

 prosecuting its two claims—breach of contract and breach of fiduciary duty—against Radcliff

 because those causes of action are not “dependent upon the same set of facts or circumstances” as

 EHO’s contract claim against Opalich. Biliouris v. Sundance Res., Inc., No. 3:07-CV-1591-N, 2010

 WL 11515567, at *2 (N.D. Tex. Nov. 3, 2010) (Godbey, J.) (citations omitted). The Court starts

 with the breach of contract claim against Radcliff. EHO alleged that Radcliff and Opalich entered
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 into, and subsequently breached, separate contracts with EHO. See Doc. 42, Am. Compl., ¶¶ 65,

 81. And these two, distinct contract claims necessarily rested on two, distinct sets of facts. See

 DMC Valley Ranch, L.L.C. v. HPSC, Inc., 315 S.W.3d 898, 906 (Tex. App.—Dallas 2010, no pet.);

 Energico Prod., Inc. v. Frost Nat. Bank, No. 02-11-00148-CV, 2012 WL 254093, at *6 (Tex. App.—

 Fort Worth Jan. 26, 2012, pet denied). EHO needed to prove one set of facts to prevail on its

 contract claim against Opalich—i.e., that Opalich contracted with EHO and that Opalich

 subsequently breached that contract—and an entirely separate set of facts to prevail on its contract

 claim against Radcliff—i.e., that Radcliff contracted with EHO and that Radcliff subsequently

 breached that contract. Cf. Doc. 140, Order, 11–17. For similar reasons, EHO’s fiduciary duty

 claim against Radcliff also rests on a distinct set of facts. See Turner, 625 S.W.3d at 525. Proof on

 EHO’s contract claim against Opalich does nothing to show that Radcliff owed or breached a

 fiduciary duty. See id. (explaining that segregation is only excused where recoverable and

 nonrecoverable claims “are so interrelated that their prosecution or defense entails proof or denial

 of essentially the same facts”). For these reasons, EHO must segregate the fees it incurred in

 prosecuting the contract claim against Opalich from the fees it incurred in prosecuting the two

 claims against Radcliff.

        EHO must also segregate its recoverable fees on the contract claim from the nonrecoverable

 fees it incurred in bringing its fiduciary duty and fraudulent inducement claims against Opalich.

 EHO argues that it has no duty to segregate because all three claims concerned Opalich’s “misuse

 of EHO’s confidential information.” Doc. 207, Mot., 15. While this may be true, “that does not

 mean [these claims] all require the same research, discovery, proof, or legal expertise.” Hillegeist

 Fam. Enters., LLP v. Hillegeist, 667 S.W.3d 349, 359 (Tex. App.—Houston [1st Dist.] 2022, no

 pet.) (citation and alteration omitted). For instance, the time EHO’s attorneys spent drafting the
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 portion of the Amended Complaint that sets forth the claims for breach of fiduciary duty and

 fraudulent inducement against Opalich do not become recoverable simply because these claims

 arose from facts similar to EHO’s breach of contract claim. See Chapa, 212 S.W.3d at 313 (“But

 when [plaintiff’s] attorneys were drafting her pleadings or the jury charge relating to fraud, there is

 no question those fees were not recoverable.”). Nor is EHO entitled to the fees it incurred in

 researching and defending its fiduciary duty and fraudulent inducement claims in response to

 Opalich’s motion for summary judgment on those claims. See id.; Doc. 113, Pl.’s Resp. Br., 27–32,

 40–49. Moreover, the fact that EHO was able to segregate the amount of fees it incurred

 responding to “Opalich’s appellate arguments that did not concern EHO’s breach of contract

 claims or his misuse of EHO’s confidential information” further suggests that the claims were not

 so interrelated as to render segregation impossible. See Doc. 207, Mot., 15. If the fees were

 segregable on appeal, the Court sees no reason why they could not have been segregated when this

 matter was initially pending before this Court. In sum, EHO’s fraudulent inducement and fiduciary

 duty claims involved factual development and legal analysis that was distinct from that required

 for the breach of contract claim. See Turner, 625 S.W.3d at 525. Accordingly, EHO must segregate

 its fees incurred in prosecuting its fiduciary duty and fraudulent inducement claims against Opalich

 from its contract claim against Opalich.

 C.     EHO Has Not Properly Segregated its Fees

        Through March 31, 2023 (the final date of trial), EHO incurred a total of $861,419.50 in

 attorneys’ fees. However, EHO claims that “[a]fter proper segregation of its fees where possible and

 subtracting the fees EHO has already recovered in the form of discovery sanctions,” it only seeks

 $814,631.50 in attorneys’ fees. Doc. 207, Mot., 4. Thus, EHO segregated a total of $46,788.00 from

 its fee request. See id. The amounts segregated consist of $31,788.00 that EHO spent in defending
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 against Opalich and Radcliff’s counterclaims and $15,000 that was awarded to EHO for fees

 incurred in bringing a discovery motion. See id. at 4, 15–16. But it appears that EHO did not

 otherwise segregate any amounts incurred for prosecuting its two claims against Radcliff or its

 breach of fiduciary duty and fraudulent inducement claims against Opalich. See id. This was

 improper. See Chapa, 212 S.W.3d at 313–16.

        Nevertheless, “[a] failure to segregate attorney’s fees does not mean that the claimant

 cannot recover any attorney’s fees.” SCA Promotions, Inc. v. Yahoo! Inc., No. 3:14-CV-957-O, 2016

 WL 8223206, at *5 (N.D. Tex. Nov. 21, 2016) (Ramirez, M.J.) (citations omitted), report and

 recommendation adopted, No. 3:14-CV-00957-O, 2017 WL 514545 (N.D. Tex. Feb. 8, 2017)

 (O’Connor, J.). Indeed, “[e]ven where the fee applicant fails to adequately segregate, unsegregated

 attorney’s fees for the entire case are some evidence of what the segregated amount should be.”

 Transverse, L.L.C. v. Iowa Wireless Servs., L.L.C., 992 F.3d 336, 346 (5th Cir. 2021) (citations and

 alterations omitted). But in this case, aside from the figure supplied by EHO, the Court has no

 additional evidence from which it could calculate with any degree of certainty the amounts that

 should be segregated.

        Accordingly, the Court ORDERS EHO to supplement its Motion for attorneys’ fees with

 evidence segregating the fees it incurred on its unrecoverable claims from its fees incurred on its

 breach of contract claim against Opalich. Such additional evidence need not consist of “separate

 time records” for each claim. Id. (citations omitted). Instead, because “Texas’s standard for fee

 segregation does not require more precise proof for attorney’s fees than for any other claims or

 expenses,” id., EHO may present evidence of the “estimated amount of time spent on a recoverable

 claim expressed as a percentage of total time spent on the entire case,” Biliouris, 2010 WL

 11515567, at *2.
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        EHO must supplement its Motion within twenty-one (21) days of the date of this Order.

 Opalich may file a response within twenty-one (21) days of the date EHO supplements its Motion,

 and EHO may file a reply brief within fourteen (14) days of the date any response is filed. The

 Court DEFERS entering an award of attorneys’ fees and costs until it receives the parties’

 supplemental materials.

        SO ORDERED.

        SIGNED: September 4, 2024.



                                                    _________________________________
                                                    JANE J. BOYLE
                                                    UNITED STATES DISTRICT JUDGE




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